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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 22-22597-CV-WILLIAMS

  RANGERS INTERNATIONAL
  FOOTBALL CLUB PLC,

        Plaintiff,

  v.

  KRF CAPITAL, LLC,

        Defendant.
                                     /

                                          ORDER

        THIS MATTER is before the Court on Magistrate Judge Eduardo I. Sanchez’s

  Report and Recommendation (DE 38) (“Report”) on Defendant’s Motion for Attorneys’

  Fees (DE 32) (“Motion”). In the Report, Magistrate Judge Sanchez recommends that the

  Court deny Defendant’s Motion. (DE 38 at 1.) No Party filed objections to the Report and

  the time to file objections has passed. Upon an independent review of the Report, the

  record, and applicable case law, it is ORDERED AND ADJUDGED that:

        1. The Report (DE 38) is AFFIRMED AND ADOPTED.

        2. Defendant’s Motion (DE 32) is DENIED.

        DONE AND ORDERED in Chambers in Miami, Florida, on this 11th day of

  September, 2023.




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